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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

                             CASE NO. 21-60125-CIV-SCOLA/SNOW

  JIANGMEN BENLIDA PRINTED
  CIRCUIT CO., LTD.,

  Plaintiff,

  v.

  CIRCUITRONIX LLC,

  Defendant.
  ____________________________________/

                  DEFENDANT CIRCUITRONIX, LLC’S OPPOSITION TO
               PLAINTIFF’S MOTION FOR PARTIAL SUMMARY JUDGMENT

          Plaintiff Jiangmen Benlida Printed Circuit Co., Ltd.’s (“Benlida”) motion for partial

  summary judgment must be denied because the contract Benlida relies on to support its argument,

  that Defendant Circuitronix LLC (“CTX”) is liable for invoices Benlida issued to non-party

  Circuitronix Hong Kong, Ltd. (“CTX-HK”), was expressly superseded and became inoperative in

  2016, more than two years before the date of the earliest invoices identified in Benlida’s operative

  complaint.

          The contract Benlida clings to, the 2014 Authorization, was only in effect from January 1,

  2014 to July 21, 2016. On July 21, 2016, Benlida and CTX signed a new contract, the Letter

  Agreement, which expressly superseded the 2014 Authorization, rendering it inoperative and

  without continuing legal effect.

          All of the invoices identified in Benlida’s operative complaint are from 2018 to 2020, more

  than two years after the 2014 Authorization was expressly superseded and ceased to have any legal

  effect. Thus, the contract that Benlida now identifies and relies upon as the sole basis for its motion



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  for partial summary judgment has no application whatsoever to the 2018, 2019 and 2020 invoices

  that are the subject of Benlida’s complaint. Accordingly, Benlida’s motion for partial summary

  judgment must be denied.

                                   FACTUAL BACKGROUND

         On March 1, 2012, Benlida and its foreign affiliate, ROK Printed Circuit Co., Ltd., entered

  into a written contract with CTX for the manufacture of printed circuit boards (“PCBs”), the

  Standard Manufacturing And Representation Agreement (“Manufacturing Agreement”) [DE 15-

  1].1

         Benlida’s Third Amended Complaint [DE 26] (the “TAC”) requests damages of over $13.5

  million, claiming that CTX breached the Manufacturing Agreement by failing to pay for hundreds

  of invoices issued in 2018, 2019 and 2020. Id. at ¶ 11; see also [DE 54 at ¶ 1]. The earliest

  invoices identified in the TAC are dated from December 2018. See [DE 26].

         However, Benlida concedes – as it must – that nearly half of the invoices identified in the

  TAC are invoices that Benlida issued to CTX-HK, a distinct and different legal entity than the

  Defendant in this case, CTX. [DE 29-3] at 2.         Benlida’s principal, Huang Hanchao (aka

  “Douglas”), provided a sworn declaration, under penalty of perjury, admitting that all of the

  invoices identified in paragraphs 261 through 431 of the TAC “are Benlida invoices that were

  issued to CTX-HK,” and not to CTX. Id.; see also, e.g., [DE 15-8] (sample invoice identified in

  the TAC and issued to CTX-HK).

         The Defendant, CTX, is a Florida limited liability company, with its headquarters in Ft.

  Lauderdale. [DE 26] at ¶ 5. CTX-HK is a Hong Kong corporation with its headquarters in Hong



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   The Manufacturing Agreement is docket entry [DE 15-1] and is Exhibit 1 to the previously filed
  supporting declaration of Chauncey D. Cole IV [DE 15]. The Manufacturing Agreement and other
  exhibits to the declaration are cited hereafter by docket entry number.
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  Kong [DE 15-2] at 1. Unlike CTX, CTX-HK is not a party in this case. Indeed, Benlida actively

  opposed joining CTX-HK as a party in this action, and made a considered choice not to sue CTX-

  HK (presumably because doing so would destroy diversity jurisdiction in this action). [DE 28] at

  4-9. Although CTX and CTX-HK are corporate affiliates, they are separate and distinct legal

  entities. See [DE 15-2] at 1 (Letter Agreement – defining CTX and CTX-HK as distinct entities);

  see also [DE 43] at ¶3 (Benlida’s Answer To Defendant’s Counterclaim – admitting that the parties

  entered into a Letter Agreement that added CTX-HK as an additional party to the original

  Manufacturing Agreement).

            At the time Benlida and CTX entered into the Manufacturing Agreement in 2012, CTX-

  HK was not a party to the contract. See [DE 15-1]. As the business developed in the ensuing

  years, and because CTX-HK was not a party to the Manufacturing Agreement, CTX signed a

  business authorization document on January 1, 2014, in which CTX authorized CTX-HK to place

  orders on CTX’s behalf, and CTX agreed to accept all debts due to those orders. [DE 29-1] at 4-

  5; [DE 53-1] at 4 (the “2014 Authorization”).

            However, on July 21, 2016, the parties signed a new Letter Agreement (the “Letter

  Agreement”) that formally added CTX-HK as an additional party to the Manufacturing

  Agreement. [DE 15-2]. The Letter Agreement specifically stated that, except as expressly

  modified by the Letter Agreement itself, the Manufacturing Agreement would remain in full force

  and effect. [DE 15-2] at 2 (¶ 1). However, all other prior written agreements between CTX and

  Benlida were expressly superseded. Id. at 3, ¶ 6. The plain language of the Letter Agreement

  states:

            This [Letter] Agreement and the [Manufacturing Agreement] represent the parties’
            full and complete understanding regarding the subject matter hereof. All prior
            agreements, covenants, representations or warranties, express or implied, oral or
            written, that refer or relate to the employment relationship have either been merged

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          into this [Letter] Agreement and/or the [Manufacturing Agreement] or have been
          intentionally omitted therefrom. This [Letter] Agreement and the [Manufacturing
          Agreement] supersede any and all prior agreements or understandings between
          [CTX] and [Benlida and ROK].

  Id. at 3, paragraph 6.

          Thus, as of July 21, 2016, the 2014 Authorization was inoperative and without effect.

  Instead, CTX-HK was itself a party to the Manufacturing Agreement, and both CTX and CTX-

  HK were each independently responsible for their own obligations under the terms of the

  Manufacturing Agreement and the Letter Agreement. As a formal party to the contract, CTX-HK

  had the opportunity to engage in business with Benlida completely independent of CTX, and CTX

  was no longer required to undertake any responsibility for obligations incurred by its foreign

  affiliate.

          Further, on October 5, 2018, Benlida requested that CTX sign a new agreement to make

  payments for CTX-HK. [DE 30-1] (email attaching proposed agreement titled “The Letter of

  Authorization for Payment Entrust”). CTX declined that request, and never signed the proposed

  agreement, providing yet another clear indication that, after the Letter Agreement, CTX did not

  agree and was not required to make payments for CTX-HK.

                                           ARGUMENT

               1. LEGAL STANDARD

          Summary judgment is only appropriate when “there is no genuine issue as to any material

  fact and the moving party is entitled to a judgment as a matter of law.” Cruz v. Publix Super

  Markets, Inc., 428 F.3d 1379, 1382 (11th Cir. 2005) (citing Fed. R. Civ. P. 56(c)). The moving

  party bears the burden of proof, and when assessing whether the movant has met this burden, the

  court should view the evidence, any ambiguities therein and all factual inferences therefrom in the




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  light most favorable to the party opposing the motion. Adickes v. S.H. Kress & Co., 398 U.S. 144,

  157 (1970); see also Brunswick Corp. v. Vineberg, 370 F.2d 605, 611–12 (5th Cir.1967).

         If the record presents factual issues, the court must not decide them; it must deny the motion

  and proceed to trial. Absolute Trading Corp v. Pdvsa Servs., Inc., No. 10-21371-CIV, 2011 WL

  13115435, at *3 (S.D. Fla. Oct. 5, 2011) (citing Envtl. Def. Fund v. Marsh, 651 F.2d 983, 991 (5th

  Cir. 1981)). Genuine disputes of fact exist when the evidence is such that a reasonable jury could

  render a verdict for the non-movant. Melton v. Abston, 841 F.3d 1207, 1219 (11th Cir. 2016).

             2. RELATED CORPORATIONS ARE SEPARATE LEGAL ENTITIES WITH
                THEIR OWN DEBTS AND OBLIGATIONS

         There is no question that CTX and CTX-HK are separate and distinct legal entities. It is

  well settled that corporations, even closely related affiliate corporations, are not interchangeably

  liable for each other’s debts and obligations. Beck v. Royale Harbour of N. Palm Beach Condo.

  Ass’n, Inc., No. 14-80611-CIV, 2014 WL 4782962, at *3 (S.D. Fla. Sept. 3, 2014). Rather, each

  corporation is recognized as a separate and distinct legal entity, each with sole responsibility for

  its legal obligations. Id. “It is a general principle of corporate law deeply ingrained in our

  economic and legal systems that a parent corporation (so-called because of control through

  ownership of another corporation’s stock) is not liable for the acts of its subsidiaries.” Id. (quoting

  United States v. Bestfoods, 524 U.S. 51, 61 (1998)).

         “Ordinarily, a corporation which chooses to facilitate the operation of its business by

  employment of another corporation as a subsidiary will not be penalized by a judicial

  determination of liability for the legal obligations of the subsidiary.” Bestfoods, 524 U.S. at 61.

  “Limited liability is the rule, not the exception.” Id.

         Here, it is undisputed that nearly half of the invoices identified in the TAC, all of which

  date from 2018 and after, are CTX-HK invoices (and not CTX invoices). Benlida’s principal,


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  Huang Hanchao (aka “Douglas”), has already admitted in sworn testimony that “the ‘BLDCCT-

  HK’-denominated invoices identified in paragraphs 261 through 431 [of the TAC] are Benlida

  invoices that were issued to CTX-HK.” [DE 29-3] at 2 (emphasis added).

         Thus, in order to hold CTX liable for the alleged debts and obligations of CTX-HK with

  regard to these CTX-HK invoices from 2018 to 2020, Benlida requires some hook to overcome

  the default legal conclusion that CTX is not responsible for these invoices. The sole hook Benlida

  now provides for this assertion is the 2014 Authorization, which is dated January 1, 2014.

         However, Benlida fails to mention that the 2014 Authorization was expressly superseded

  by contract in 2016, more than two years before the first CTX-HK invoice identified in the TAC.

             3. THE AGREEMENT BENLIDA RELIES UPON WAS EXPRESSLY
                SUPERSEDED IN 2016

         Benlida now asks the Court to enter partial summary judgment, “holding that defendant

  CTX is liable as guarantor for CTX-HK’s debts.” [DE 53 at 4]. To support this argument, Benlida

  relies exclusively on the 2014 Authorization document signed by CTX, in which CTX authorized

  CTX-HK to place orders on CTX’s behalf, and CTX agreed to accept all debts due to those orders.

  See [DE 53-1] at 4.

         However, Benlida’s argument must be rejected and its motion must be denied because the

  2014 Authorization was expressly superseded by contract in 2016, when the parties signed the

  Letter Agreement that formally added CTX-HK as an additional party to the Manufacturing

  Agreement. [DE 15-2]. The Letter Agreement specifically states:

         This [Letter] Agreement and the [Manufacturing Agreement] represent the parties’
         full and complete understanding regarding the subject matter hereof. All prior
         agreements, covenants, representations or warranties, express or implied, oral or
         written, that refer or relate to the employment relationship have either been merged
         into this [Letter] Agreement and/or the [Manufacturing Agreement] or have been
         intentionally omitted therefrom. This [Letter] Agreement and the [Manufacturing
         Agreement] supersede any and all prior agreements or understandings between
         [CTX] and [Benlida and ROK].
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  Id. at 3, ¶ 6 (emphasis added). The plain language of this merger provision expressly superseded

  the 2014 Authorization, rendering it inoperative and without effect from July 21, 2016, the date of

  the Letter Agreement. See, e.g., Comsof, N.V. v. Cigarette Racing Team, Inc., No. 01-4856-CIV-

  MOORE, 2002 WL 227034, at *3 (S.D. Fla. Jan. 25, 2002) (explaining that a “classic merger

  clause” precludes a party “from enforcing extraneous oral and written agreements”); see also Topp,

  Inc. v. Uniden Am. Corp., 513 F. Supp. 2d 1345, 1348 (S.D. Fla. 2007) (a written contract

  containing a merger clause supersedes all prior representations and agreements).

         Thus, by the time the earliest invoices identified in the TAC were issued, in December

  2018, the 2014 Authorization had already been inoperative and without effect for more than two

  years. Indeed, one of the primary reasons for entering into the Letter Agreement in 2016 was to

  formally add CTX-HK as a party to the Manufacturing Agreement, allowing CTX-HK to be a full

  participant, and eliminating any need for CTX to provide assurances for obligations incurred by

  CTX-HK.

         Thus, the 2014 Authorization, the sole document identified by Benlida as the basis for its

  motion for partial summary judgment, had been expressly superseded and was without legal effect

  at the time of the CTX-HK invoices identified in the TAC. Accordingly, Benlida’s motion for

  partial summary judgment must be denied.

             4. BENLIDA REQUESTED A GUARANTEE AGREEMENT IN 2018 AND
                CTX DECLINED

         Further, on October 5, 2018, Benlida – fully aware that CTX was not obligated to make

  payments for CTX-HK – requested that CTX sign a new agreement to make payments for CTX-

  HK. [DE 30-1] (email attaching proposed agreement titled “The Letter of Authorization for

  Payment Entrust”). CTX declined that request, and never signed the proposed agreement,

  providing yet another clear indication that, after the 2016 Letter Agreement, CTX did not agree to
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  make payments for CTX-HK.         CTX’s refusal to sign a subsequent agreement undermines

  Benlida’s position that CTX must be liable for CTX-HK’s alleged obligations.

         The reality is that at the time Benlida issued the 2018 through 2020 invoices identified in

  the TAC: (1) CTX-HK was itself a party to the Manufacturing Agreement; (2) the 2014

  Authorization was no longer in effect; (3) Benlida knew that CTX had not agreed to make

  payments for CTX-HK, having rejected a new proposed agreement to that effect; and (4) CTX was

  not liable for the invoice obligations allegedly incurred by CTX-HK. Accordingly, Benlida’s

  motion for partial summary judgment must be denied.

                                          CONCLUSION

         For all of these reasons, CTX respectfully requests that the Court enter an Order denying

  Benlida’s motion for partial summary judgment.



  Dated: March 1, 2022                                Respectfully submitted


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                                 CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that a true copy of the foregoing has been served via transmission of
  Notices of Electronic Filing generated by CM/ECF on March 1, 2022 as filed with the Clerk of the
  Court using CM/ECF.                         By: /s/ Chauncey D. Cole IV___
                                               Chauncey D. Cole IV




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